
MEMORANDUM *
Plaintiff-Appellee, Spencer Recovery Centers, Inc. (“Spencer”), filed wrongful denial of benefits claims against Defendants-Appellants Eval Company Medical Plan and Marukyo USA Inc. Health Plan (the “Plans”) under the Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1001-1381. The district court found that the Plans wrongfully denied the benefit claims, and it ordered the Plans to pay the claims. The *154district court also ordered the Plans to pay pre-judgment interest and attorneys’ fees and costs. We have jurisdiction under 28 U.S.C. § 1291, and we affirm for the reasons stated by the district court.
Spencer has also requested attorneys’ fees and costs associated with this appeal pursuant to 29 U.S.C. § 1132(g). We ordinarily grant a prevailing beneficiary in an ERISA action reasonable attorneys’ fees and costs, absent special circumstances cautioning against such a grant. See Canseco v. Construction Laborers Pension Trust for S. Cal., 93 F.3d 600, 609-610 (9th Cir.1996) (recognizing our discretionary power to award fees under 29 U.S.C. § 1132(g)(1)). In this case, Spencer is standing in the shoes of the Plans’ beneficiaries, as their assignee of and successor in interest. Spencer has prevailed on appeal, and there are no special circumstances warranting the denial of the request. Accordingly, we grant Spencer’s request for attorneys’ fees and costs and refer the case to the Appellate Commissioner for a determination of the reasonable amount of fees and costs.
Judgment of the district court AFFIRMED. Spencer’s request for attorneys fees and costs associated with this appeal GRANTED.

 This disposition is not appropriate for publication and is not precedent except as provided by 9th Cir. R. 36-3.

